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                                                             9   Mortgage Servicing
                                                            10
                                                                                          UNITED STATES BANKRUPTCY COURT
                                                            11
                                                                                                    DISTRICT OF NEVADA
                                                            12
              1635 VILLAGE CENTER CIRCLE, SUITE 200
               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                            13   In re:                                            Case No.: 09-29123-mkn
                      LAS VEGAS, NEVADA 89134




                                                            14
AKERMAN LLP




                                                                 MELANI       SCHULTE        and     WILLIAM       Chapter 11
                                                                 SCHULTE,
                                                            15
                                                                                                                   NOTICE     OF  HEARING      ON
                                                                 2704 SATTLEY LLC;                                 SHELLPOINT         MORTGAGE
                                                            16   HOT ENDEAVOR LLC;                                 SERVICING'S   MOTION       FOR
                                                                 1341 MINUET LLC;                                  SUMMARY JUDGMENT [ECF NO. 1407]
                                                            17   1708 PLATO PICO LLC;
                                                                 2228 WARM WALNUT LLC;
                                                            18   9425 VALLEY HILLS LLC;                            Jointly Administered with:
                                                                 9500 ASPEN GLOW LLC;
                                                            19   5218 MISTY MORNING LLC;                           09-27238-MKN
                                                                 CHERISH LLC;                                      09-27909-MKN
                                                            20   SABRECO INC., and                                 09-27910-MKN
                                                                 KEEP SAFE LLC.                                    09-27911-MKN
                                                            21
                                                                                                                   09-27912-MKN
                                                            22                                                     09-27913-MKN
                                                                                                                   09-27914-MKN
                                                            23                                                     09-27916-MKN
                                                                                                                   09-28513-MKN
                                                            24                                                     09-31584-MKN
                                                                                                                   09-31585-MKN
                                                            25

                                                            26                                                     Hearing Date: March 22, 2022
                                                                                                                   Hearing Time: 9:30 a.m.
                                                            27

                                                            28

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                                                             1             NOTICE IS HEREBY GIVEN that a motion for summary judgment was filed on January

                                                             2   31, 2022, by NewRez LLC dba Shellpoint Mortgage Servicing (Shellpoint), and that a hearing will

                                                             3   be held before the Honorable United States Bankruptcy Judge Mike K. Nakagawa, in the Foley

                                                             4   Federal Building, 300 Las Vegas Boulevard, South, Las Vegas, Nevada 89101, Courtroom 2, on

                                                             5   March 22, 2022, at the hour of 9:30 A.M. Any opposition must be filed pursuant to Local Rule

                                                             6   9014(d)(1).

                                                             7             NOTICE IS FURTHER GIVEN that if you do not want the Court to grant the relief sought

                                                             8   in the motion, or if you want the court to reconsider your views on the motion, then you must file an
                                                             9   opposition with the Court, and serve a copy on the person making the Motion, no later than 14 days

                                                            10   preceding the hearing date for the motion, unless an exception applies (see Local Rule 9014(d)(3)).

                                                            11   The opposition must state your position, set forth all relevant facts and legal authority, and be

                                                            12   supported by affidavits or declarations that conform to Local Rule 9014(c).
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               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                            13             If you object to the relief request, you must file a WRITTEN response to this pleading
                      LAS VEGAS, NEVADA 89134




                                                            14
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                                                                 with the Court. You must also serve your written response on the person who sent you this
                                                            15   notice.
                                                            16             If you do not file a written response with the Court, or if you do not serve your written
                                                            17   response on the person who sent you this notice then:
                                                            18                •   The Court may refuse to allow you to speak at the scheduled hearing, and
                                                            19                •   The Court may rule against you without formally calling the matter at the hearing.
                                                            20             Dated this 1st day of February, 2022.
                                                            21
                                                                                                                         AKERMAN LLP
                                                            22
                                                                                                                         /s/ Nicholas E. Belay, Esq.
                                                            23                                                           ARIEL E. STERN, ESQ.
                                                                                                                         Nevada Bar No. 8276
                                                            24                                                           NATALIE L. WINSLOW, ESQ.
                                                                                                                         Nevada Bar No. 12125
                                                            25                                                           NICHOLAS E. BELAY, ESQ.
                                                                                                                         Nevada Bar No. 15175
                                                            26                                                           1635 Village Center Circle, Suite 200
                                                                                                                         Las Vegas, NV 89134
                                                            27
                                                                                                                         Attorneys for NewRez LLC dba Shellpoint
                                                            28                                                           Mortgage Servicing

                                                                                                                     2
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                                                             1
                                                                                                 CERTIFICATE OF SERVICE
                                                             2
                                                                       1.     On February 1, 2022, I served the following document: NOTICE OF HEARING
                                                             3
                                                                 ON SHELLPOINT MORTGAGE SERVICING'S MOTION FOR SUMMARY JUDGMENT.
                                                             4
                                                                       2.     I served the above-named document by the following means to the persons as listed
                                                             5
                                                                 below: (Check all that apply)
                                                             6
                                                                               a.     ECF System - The Court’s CM/ECF systems sends an e-mail notification of
                                                             7         the filing to the parties and counsel of record who are registered with the Court’s CM/ECF
                                                                       system.
                                                             8
                                                                              b.     Personal Service - I personally delivered the document(s) to the persons at
                                                             9         these addresses: N/A
                                                            10               For a party represented by an attorney, delivery was made by handing the
                                                                       document(s) to the attorney or by leaving the documents(s) at the attorney’s office with a
                                                            11         clerk or other person in charge, or if no one is in charge by leaving the documents(s) in a
                                                                       conspicuous place in the office: N/A
                                                            12
              1635 VILLAGE CENTER CIRCLE, SUITE 200
               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                                              For a party, delivery was made by handing the document(s) to the party or by leaving
                                                            13         the document(s)at the person’s dwelling house or usual place of abode with someone of
                      LAS VEGAS, NEVADA 89134




                                                                       suitable age and discretion residing there: N/A
                                                            14
AKERMAN LLP




                                                                             c.       By direct mail (as opposed to through the ECF System)
                                                            15
                                                                             d.       By fax transmission
                                                            16

                                                            17               e.       By messenger
                                                            18         I declare under penalty of perjury that the foregoing is true and correct.
                                                            19         Signed on: February 1, 2022
                                                            20   Patricia Larsen                                    /s/ Patricia Larsen
                                                                 (Name of Declarant)                                (Signature of Declarant)
                                                            21

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